                                               UNITED STATES BANKRUPTCY COURT
                                                EASTERN DISTRICT OF MICHIGAN
                                                  SOUTHER DIVISION — DETROIT

In re:

Ted Ayoub,                                                                                  Case No.: 10-62790-wsd
                                                                                            Chapter 7
      Debtor                                                                                Hon. Walter Shapero
_____________________________________/

Ted Ayoub,

             Plaintiff,

v.                                                                                          Adv. Pro. No.: 15-04153

FirstMerit Bank,
Joseph F. Yamin et al.,

      Defendants
_____________________________________/

     OPINION AND ORDER GRANTING DEFENDANTS’ MOTIONS FOR SANCTIONS

                                                                     Introduction

             Before the Court are Motions for Sanctions filed by eight of the ten Defendants. These

Motions are substantially the same so the Court will address them together.

             The Debtor Plaintiff in this adversary proceeding is Ted Ayoub (“Ayoub”), who received

a Chapter 7 discharge on April 18, 2011.                                    In October 2014 Ayoub moved to reopen his

bankruptcy case for the purpose of filing this adversary proceeding.1 The relevant Defendants

are Joseph F. Yamin (“Yamin”); John D. Gwyn (“Gwyn”); Weltman, Wienberg, & Ries CO.,

LPA (“Weltman”); Robert Szantner (“Szantner”); RSA Design Group, LLC (“RSA”); Lambert

																																																								
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  The Court granted Ayoub’s Motion to Reopen and required him to present an order reflecting same.
There was an objection to his initial proposed order and he never presented a revised order. As a result,
the main bankruptcy case remains closed. However, Ayoub has pursued this proceeding and given the
matter’s posture, the Court is treating the bankruptcy case as if it was reopened solely for the purpose of
this adversary proceeding.



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Leser (“Lambert”); Stephen C. Cooper (“the Receiver”); Beier Howlett, P.C. (“Beier”);

FirstMerit Bank, as successor in interest to Citizens Bank (“FirstMerit”); and Simon, Galasso, &

Frantz, PLLC (“Simon”). The substantive claims in Ayoub’s complaint are that those ten

Defendants violated the automatic stay and/or the discharge injunction by way of actions

pursued in and orders obtained from a state court, all of which Ayoub argues violated his

discharge injunction and are void ab initio. Defendants responded to the complaint with five

separate motions to dismiss, which the Court granted in its opinion dated June 1, 2015 (Dkt. 49

(“Dismissal Opinion”).                           Subsequently, eight of the ten Defendants filed the Motions for

Sanctions that are the subject of this opinion.2 For the reasons stated herein, the Court grants

each of those Motions for Sanctions.

                                                           Procedural and Factual Background

             Most of the relevant facts are in the Dismissal Opinion. Ayoub acquired approximately

69% of the stock in Yamasaki Associates, Inc. (“Associates”), an architectural firm in which

Szantner owned some of the remaining shares. Ayoub became Associates’ CEO and Szantner

remained an operating executive. Around the same time, Ayoub formed and became sole

shareholder of Yamasaki International, Inc. (“International”), an entity the primary purpose of

which was to globally market Associates’ services. Citizens Bank, later succeeded by FirstMerit

Bank (collectively “the Bank”), was a creditor of Associates, and Ayoub had personally

guaranteed some of Associates’ obligations to the Bank. Defendants Yamin, Gwyn, Beier,

Weltman, and Simon (“Bank Attorneys”) are attorneys and law firms that each, at various times,

represented the Bank in its dealings with Associates. The Receiver is the receiver the Oakland

County Circuit Court (“the State Court”) appointed over both Ayoub and Associates. RSA is an


																																																								
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    The Motions for Sanctions do not involve Defendants Gwyn and Simon.
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entity that Szantner owns and the Court will refer to Szantner and RSA collectively as “the

Szantner Group.”

        Before Ayoub’s bankruptcy, Associates began experiencing financial trouble. It became

unable to currently pay some of its taxes, salaries and other obligations, was unable to collect its

receivables, and had commenced collection litigation against some of its clients. After these

troubles began Szantner left Associates and formed RSA. The financial struggles also resulted in

Citizens Bank filing suit in 2009 against Ayoub, Associates, and others in the State Court. On

May 12, 2010, the State Court appointed the Receiver over Ayoub and Associates incident to a

money judgment the Bank obtained against them that case. About a month later, on June 16,

2010, Ayoub filed for bankruptcy.

        On his Schedule B Ayoub listed his interest in Associates and International, valuing each

at $1.00 and on his Schedule F he listed a debt of $468,732.45 to the Bank. Ayoub received his

discharge on April 18, 2011 and the Court closed his bankruptcy case on September 21, 2011.

None of the Defendants in this matter alleged during the bankruptcy case that Ayoub’s debt to

the Bank was non-dischargeable.

        Before Ayoub’s discharge the Bank (through the Bank Attorneys) filed an Amended

Complaint, against International only, in the same court case that led to the default judgment

against Ayoub and Associates and that led to the appointment of a receiver. That Complaint was

filed on March 1, 2011, and in it informed the parties and the State Court it was not seeking

relief from Ayoub individually. In that regard, the Amended Complaint states “…the above

action has not been stated against him [Ayoub] individually due to bankruptcy filing.” Adv. Pro.

Comp. Ex. 14 Para. 8. On May 12, 2011, the State Court entered a Default Judgment against




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only International for $502,009.50, incident to which the State Court also amended its Order

Appointing the Receiver to add to the Receiver’s jurisdiction authority over International.

        Subsequently, Ayoub filed a federal action on his own behalf and as majority owner of

Associates and International.     Following a show-cause order based on lack of diversity

jurisdiction, that federal case was dismissed.

        Thereafter, the Receiver sought a contempt order in the state court case, against Ayoub

and his attorney Norton Gappy (“Gappy”), for having filed the federal action on behalf of entities

that were in receivership. State Court Judge Anderson granted the Receiver’s contempt motion

and enjoined Ayoub from filing additional actions without leave of the court. Ayoub thereafter

filed a State Court case, styled Ayoub v. Szantner, which was assigned to State Court Judge

Nanci Grant. She dismissed that case, recognizing that Ayoub was again attempting to pursue

claims that belonged to corporate entities, and reminding Ayoub that his status as a corporation’s

owner does not give him personal standing to assert a claim for the corporation’s lost profits, that

claim belonging to the corporation.

        Ayoub appealed Judge Grant’s dismissal of his State Court action to the Michigan Court

of Appeals, claiming he only filed that case to prevent the running of the applicable statute of

limitations. The Court of Appeals, seeing no merit in this argument and noting that Ayoub raised

the specious statute of limitations argument only to circumvent the broad prohibitions in the

State Court’s receivership order, affirmed Judge Grant’s order dismissing Ayoub’s Complaint.

        Following that affirmance on appeal, Judge Anderson sanctioned both Ayoub and Gappy

for continuing to file actions in violation of the court’s previous order. In the months leading up

to Judge Anderson’s order, the Receiver engaged in efforts to collect on the Default Judgment.

As part of those efforts, the Receiver conducted a creditor’s examination (“Creditor’s Exam”) of



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Ayoub on February 20, 2013.                                   The Receiver made clear at the Creditor’s Exam that the

collection efforts were against International and Associates only, not Ayoub individually. A

careful review of the transcript of that Creditor’s Exam indicates the Receiver took great pains to

make that clear and that he sought only assets of International and Associates, reflecting his

awareness of Ayoub’s personal bankruptcy discharge (See further details in the Dismissal

Opinion). The sum of the foregoing requires a conclusion that there is no plausible argument

Ayoub personally was being pursued in connection with activities designed to collect on the

Default Judgment, it being evident his involvement was occasioned by a need to obtain facts

incident to attempts to effect collection of that judgment from the judgment debtor(s).

             Despite that, Ayoub filed this adversary proceeding claiming those collection efforts

violated his bankruptcy automatic stay and his discharge injunction. This Court concludes his

actions in that regard are but a continuation of his now perpetual inability and/or refusal to

understand and accept the differentiation between his ownership of stock in a corporation and the

assets held by and belonging to that corporation- something this Court explained in its rationale

for the Dismissal Opinion.

                                                               The Motions for Sanctions

             Defendants Motions for Sanctions against Ayoub assert relief pursuant to Federal Rule of

Bankruptcy Procedure 9011.3                                 That Rule requires an attorney who submits a pleading to certify

that the pleading is not presented for improper purposes and that its contents are justified by

existing law or by a legitimate argument for the extension or modification of existing law. When

a pleading violates Rule 9011, a court may sanction the responsible party and/or his attorney.

																																																								
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  The Motions initially were filed separately, with some of them occurring before the Court dismissed
Ayoub’s Complaint and some occurring after. However, the Motions are nearly identical and all raise the
same arguments. The Defendants eventually filed a Combined Brief supporting the Motions. As a result,
the Court addresses the Motions as one.
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        The Defendants argue Ayoub and Gappy, his attorney, both violated Rule 9011 by

pursuing frivolous legal theories that had no merit and served only to harass the Defendants.

Defendants quote this Court’s unappealed from Dismissal Opinion and Order Granting

Defendants’ Motion to Dismiss, pointing out that Ayoub “ignores basic principles of law as to

the distinction and separateness of a corporate entity and its shareholders.” (Dkt. 49). The

Defendants also claim Ayoub’s adversary proceeding was vexatious and a form of

gamesmanship.

        Ayoub responds by claiming he conducted himself in good faith throughout this

litigation. He supports his position by noting that this Court gave him leave to reopen his

bankruptcy for the express purpose of filing the instant adversary proceeding. Finally, Ayoub

points out that some of the Defendants did not satisfy the safe harbor provision of Rule 9011,

which some of them concede. They address that matter by arguing compliance by some of them

protects the others or, alternatively, this Court should sanction Ayoub and Gappy on its own

authority.

        Under Fed. Bank. Pro. 9011(a), an attorney of record for a represented party must sign

every petition, pleading, or motion submitted to a court.          Under 9011(b), that signature

constitutes certification, in pertinent part, that the signer has made reasonable inquiry and to the

best of his knowledge the subject document:

               (1) is not being presented for any improper purpose, such as to harass
                   or to cause unnecessary delay or needless increase in the cost of
                   litigation;

               (2) the claims, defenses, or other legal contentions therein are
                   warranted by existing law or by a nonfrivolous argument for the
                   extension, modification, or reversal of exiting law or the
                   establishment of new law.

               Fed. R. Bankr. Proc. 9011(b)(1) and (2) (2016).

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        Subsection (c)(2)(A) of Rule 9011 also is relevant to this matter. According to that

provision, a court cannot impose monetary sanctions on a represented party for a violation of

Federal Rule of Bankruptcy Procedure 9011(b)(2), which governs claims, defenses, and other

legal contentions contained in a submission to a court.

        When determining whether a party violated Rule 9011, a court cannot use the benefit of

hindsight; instead, it must consider whether the signer’s conduct was reasonable at the time he

submitted the subject filing. B-Line, LLC v. Wingerter (In re Wingerter), 594 F.3d 931, 939 (6th

Cir. 2010).    A court also should consider the surrounding circumstances when determining

whether a signer acted reasonably. Mann v. G & G Manufacturing, Inc., 900 F.2d 953, 958 (6th

Cir.), cert. denied, 498 U.S. 959, 111 S.Ct. 387, 112 L.Ed.2d 398 (1990). The simple fact that a

court rejects a party’s arguments does not justify sanctions under Rule 9011. In re Fordu, 209

B.R. 854, 867 (BAP 6th Cir. 1997).

        Finally, a bankruptcy court has the authority to award sanctions apart from the confines

and requirements of Rule 9011. Glatter v. Mroz, 65 F.3d 1567 (11th Cir. 1995). However, to

invoke this inherent power to sanction, a court must find that the offending party acted in bad

faith. Id. at 1575.

                                            Rule 9011

A.      The Safe Harbor Issue

        Before filing a motion for sanctions under Rule 9011, a party must serve on its opponent

a copy of the proposed motion with a description of the specific conduct alleged to violate Rule

9011. Service of this proposed motion must satisfy Federal Rule of Bankruptcy Procedure 7004,

governing proper service of documents, and must occur at least 21 days before the motion is

formally filed. A warning letter or similar correspondence is not sufficient to satisfy the service



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requirement in Rule 9011. Penn, LLC v. Prosper Bus. Dev. Corp., 773 F.3d 764, 767 (6th Cir.

2014) quoting Roth v. Green, 466 F.3d 1179, 1192 (10th Cir. 2006).

        The following Defendants satisfied the safe harbor requirement: Yamin, Lambert, Beier,

Szantner, and RSA. The Receiver made no efforts to satisfy the safe harbor requirement. He is

not entitled to Rule 9011 relief but might be able to avail himself of this Court’s inherent

authority to award sanctions.

        The remaining Defendants—FirstMerit and Weltman—are in a gray area. FirstMerit and

Weltman did not technically serve their Motion for Sanction on Ayoub, as Rule 9011 and Rule

7004 require. However, they did notify him via email of their intent to pursue sanctions and sent

him a copy of their proposed motion. The issue is whether this informal process satisfied Rule

9011. The Court finds it does not, as it fails to satisfy the requirements of Rule 7004. Like the

Receiver, though, FirstMerit and Weltman may seek relief under the Court’s noted inherent

power to sanction.

        Therefore, the Court must apply two different analyses to the moving parties, to wit: (a)

The Court will analyze the Motions of Yamin, Lambert, Beier, Szantner, and RSA (“the Rule

9011 Defendants”) under Rule 9011; and (b)           The Court will analyze the Motions of the

Receiver, FirstMerit, and Weltman (“the Non-Rule 9011 Defendants”) under law governing the

Court’s inherent authority to sanction an offending party.

B.      Sanctions in Favor of the Rule 9011 Defendants

        As noted, the Rule 9011 Defendants complied with the Rule’s safe harbor requirements

and therefore are entitled to the Rule’s protections. The Court finds that with regard to those

Defendants, Ayoub’s adversary complaint and his attorney Gappy’s efforts to prosecute same

violated Federal Rule of Bankruptcy Procedure 9011(b)(1) and (2). Those efforts were designed



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to cause, and had the result of effecting, unnecessary delay, and they needlessly increased the

cost of litigation. They were frivolous and not supported by a nonfrivolous argument for the

extension, modification, or reversal of existing law or the establishment of new law.

        In making this determination, the Court must, as noted, look to the reasonableness of the

Ayoub’s and Gappy’s conduct at the time it occurred and in the context of the Court’s Dismissal

Opinion. In this case, the Court finds that by the time they began this adversary proceeding

Ayoub and Gappy knew or reasonably should have known that their legal theories were

unsupportable and had no basis or merit (i.e. were frivolous).

        1.     Conduct Violating Rule 9011(b)(1)

        Pursuant to Rule 9011(b)(1), when signing a pleading or motion an attorney certifies that

he is not offering that pleading or motion for an improper purpose, such as to cause unnecessary

delay or needlessly increase the cost of litigation. This Court can only conclude that Ayoub’s

pursuit of relief here was done to cause an unnecessary delay to and to needlessly increase the

cost of Defendants’ efforts to collect on a money judgment against corporate entities and not him

personally.

        Ayoub is a shareholder in corporate entities against which the Defendants have a money

judgment. As noted, he has no credible argument that he is being or has been directly pursued,

as an individual, by Defendants at any time since receiving the protection of the automatic stay

or discharge injunction.   The judgment      issued was against corporate entities alone.        The

amended complaint that led to that judgment was against corporate entities alone.       Additionally,

the creditor’s exam involving Ayoub was aimed at collecting from corporate entities alone, the

receiver taking pains to avoid even the appearance he was pursuing Ayoub individually.




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         It is an inherent risk of stock ownership that one’s stock or interest in a corporate entity

might be or become worth less or worthless by reason of the application or seizure of corporate

assets to pay corporate debt.     The application or seizure of corporate assets simply cannot be

said alone to be,or have been the result of, or be synonymous with, or be characterized as, an

effort to collect a corporate debt from the holder of the stock or interest who has no personal

liability for that debt.

         Ayoub’s actions had the effect of unnecessarily delaying Defendants’ efforts and

needlessly increasing their litigation costs (i.e. he was trying everything he could to protect

whatever was the value of his interest in these entities).          When considering all of the

circumstances at that time they occurred, there is therefore no reasonable argument that the

Defendants were directly pursuing Ayoub as an individual, and the Court concludes that he has

caused unnecessary delay and needlessly increased litigation costs, in violation of Rule

9011(b)(1), in an effort to protect what he saw as the value of his interest in the subject corporate

entities.

         Ayoub also can be seen as engaging in forum shopping that has the effect of causing

unnecessarily delay and needlessly increasing litigation costs for the Defendants.            In his

pleadings, Ayoub notes that he sought relief in this Court only “after just about every avenue for

relief for Mr. Ayoub was exhausted at the state level.” (Dkt. 85 at Page 16). This statement

reinforces a conclusion borne out by the other facts—that Ayoub is intent on dragging this matter

out indefinitely, moving from one tribunal to the next until he finds a court sympathetic to his

argument. This conduct violates Rule 9011(b)(1).

         Gappy, the attorney, is also implicated regarding these violations of Rule 9011(b)(1). As

Ayoub’s counsel, he was responsible for developing and implementing a legal strategy that



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complies with the applicable law and rules. Instead, on behalf of his client he assisted in and

made legally possible, procuring unnecessary delays and actions that led to increased litigation

costs, and facilitated the indicated forum shopping. He signed and submitted to this Court

pleadings and motions that were not offered for the required proper purposes and his standing as

the attorney does not insulate him from its consequences. For all of these reasons, the Court

concludes both Ayoub and Gappy violated Rule 9011(b)(1).

         2.     Conduct Violating Rule 9011(b)(2)

         Rule 9011(b)(2) governs the submission of claims and legal contentions to the Court.

Accordingly, it addresses what are primarily legal decisions involving legal interpretations and

strategies. These decisions are largely within the purview and decision making of counsel,

made in consultation with, and, by or with consent or direction of the client. Rule 9011(c)(2)(A)

provides that a court can impose financial sanctions for a violation of Subsection (b)(2) only on

legal counsel, not the client. Therefore, because the Court cannot sanction Ayoub under Rule

9011(b)(2), it directs this portion of this opinion at Gappy.

         According to Rule 9011(b)(2), a signer of legal pleadings and motions certifies that the

claims, defenses, or other contentions contained therein are justified by existing law or by

nonfrivolous argument to extend, modify, or reverse existing law or establish new law. Here,

Gappy violated this Rule by prosecuting arguments that contradicted existing law and were not

supported by a nonfrivolous argument to extend or change existing law.

         As the Court notes, there is no credible argument that Defendants have pursued Ayoub

individually to collect the debts owed by the corporate entities at issue. Accordingly, Gappy and

Ayoub are left to argue that the Defendants were pursuing Ayoub indirectly, a position they

supported by claiming Ayoub and the corporate entities in which he owns shares are one and the



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same (a position which might be adverse to Ayoub or he might want to reconsider in other

contexts). The argument, then, is that Defendants violated Ayoub’s discharge injunction and

automatic stay by pursuing collection of a money judgment against corporate entities in which he

had an ownership interest. However, Gappy knew long before this adversary proceeding that

this argument was without merit.

         Gappy was told at least twice, before this adversary case began, that this position is

without merit. At least two State Court judges made clear to Gappy that under Michigan law a

corporation and an individual owning stock in that corporation are separate and distinct legal

entities. The very purpose of the corporate structure is to shield its individual shareholders from

liability when that corporation suffers legal hardship and liability. This is a basic tenet of

corporate law known to any student who has taken a law school corporations class, let alone a

practicing attorney. See Morris v. Schnoor, No. 315006, 2014 WL 2355705, at *31 (Mich. Ct.

App. May 29, 2014) appeal denied, 859 N.W.2d 514 (Mich. 2015). Gappy knew or should have

known that corporate assets do not become part of an individual debtor’s bankruptcy estate even

if that individual is the sole shareholder. See In re D’Alessio, No. 8-08-72819-REG, 2014 WL

201871, at *9 (Bankr. E.D.N.Y. Jan. 17, 2014).

         Gappy’s recited conduct is even more problematic considering how many and how often

multiple courts reminded him of this well-settled law, and keeping in mind that one State Court

ordered that he and Ayoub not file any more lawsuits regarding the instant issues without that

court’s permission. In response and on Ayoub’s behalf, Gappy did file another case (which case

was dismissed immediately) seeking the exact same relief he already had been told was not

available to Ayoub. After that case was dismissed and Gappy and Ayoub were sanctioned,

Gappy proceeded to present the same meritless arguments to this Court. He essentially has been



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shopping for a court in which to seek previously denied, and deniable, relief not available to

Ayoub under Michigan law (i.e. another bite at the same apple). Despite Gappy’s argument

otherwise (discussed below), there is no nonfrivolous argument to extend, change, or reverse the

long-settled law that precludes the requested relief.

         The one attempt Gappy made to argue for an extension or application of existing law to

Ayoub’s situation also is without merit.         He noted that there sometimes arise unusual

circumstances when a bankruptcy court may stay proceedings against non-bankruptcy co-

defendants. These circumstances may exist when there is such identity between the debtor and

third-party defendant that the debtor could be viewed as the real party in interest. See. A.H.

Robins Co. v. Piccinin, 788 F.2d 994, 999 (4th Cir. Va. 1986). Similarly, a non-bankrupt co-

defendant may enjoy the protection of the automatic stay if the extension contributes to the

debtor’s rehabilitation efforts or the debtor and bankrupt are “closely related.”     In re S.I.

Acquisition, Inc., 817 F.3d 1142, 1147 (5th Cir. Tex. 1987).

         These principles might have been helpful to Gappy and Ayoub’s argument if the Court

had stayed proceedings against Associates or International, but it had not. In fact, Gappy and

Ayoub never asked that this Court stay proceedings against Associates or International, and

regardless such a stay would not be proper. Given the clear status of Michigan law regarding the

distinction between a corporate entity and its owners/shareholders, there does not exist “such

identity” between Ayoub and the corporations justifying such drastic action.

         Gappy also argues that this Court should not sanction him or Ayoub because doing so

would amount to holding them responsible for violating the orders of another tribunal. That

argument misses the point. This Court is not sanctioning either of them for violating orders of




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any other court. The Court is sanctioning Gappy and Ayoub for violating Federal Rule of

Bankruptcy Procedure 9011.

         However, that does not mean violation of or conduct in reaction to prior State Court

orders is irrelevant to this proceeding. Gappy is wrong when he claims that what he “may have

done before another tribunal is of no consequence to the matter before this Court.” (Dkt. 85 at

page 16). What happened before the various state court judges is quite relevant to evaluating the

merits of and/or the essentially frivolous and unsupportable continued prosecution of the same

claims. Gappy’s interactions with other tribunals make clear that he knew or should have

known, before filing this adversary proceeding, that the position he and his client were taking

was without merit. Accordingly, under the recited circumstances this Court can only conclude

that Gappy’s efforts here were frivolous.

         In support of his position, Gappy relies heavily on the fact that this Court granted Ayoub

leave to file this adversary complaint in the first place. He argues that by pursuing the adversary

complaint, Ayoub “did what this Court granted him permission to do and nothing more.” (Dkt.

85 at page 20). That argument misapprehends the impact of a court’s decision to reopen a case.

The act of reopening a case is ministerial and has no independent legal significance. In re

Oglesby, III, 519 B.R. 699, 703 (N.D. Ohio 2014); Bloxsom v. Aegis Mortgage Elect. Reg.

Systems, Inc., 389 B.R. 52, 60 (W.D. Mich. 2008). It determines nothing about the merits of a

case and affords no independent relief to the moving party.           Oglesby, 519 B.R. at 703.

Accordingly, the Court allowing Ayoub to file a complaint was not a comment on the merits

contained therein and is irrelevant to the instant Motions.

         For all of these reasons, the Court finds a violation of Rule 9011(b)(2) of the Federal

Rules of Bankruptcy Procedure with regard to the Rule 9011 Defendants.



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C.           Sanctions in Favor of the Non-Rule 9011 Defendants

             The Non-Rule 9011 Defendants did not comply with Rule 9011’s safe harbor provision

and they do not receive the Rule’s protection. However, as noted above this Court has the

inherent authority to sanction Gappy and/or Ayoub for conduct directed at the Non-Rule 9011

Defendants, if the Court finds either acted in bad faith. Whether a party or his attorney acted in

bad faith requires a court to consider the totality of the circumstances. In re Cadillac by

DeLorean and DeLorean Cadlilac, Inc., 265 B.R. 574, 582 (N.D. Ohio 2001); See Adell v. John

Richards Homes Building Co., LLC, 439 F.3d 248, 254-55 (6th Cir. 2006) (addressing bad faith

filing of bankruptcy petition); see also Hardin v. Caldwell, 851 F.3d 852 (6th Cir. 1988)

(applying totality of circumstances test when considering whether debtor acted in bad faith in

Chapter 13 case).4

             While there is no comprehensive definition of “bad faith” conduct, there are guidelines to

help one recognize such conduct.. For example, using the judicial process for an improper

purpose or taking action that is without basis in law or fact both constitute bad faith conduct. See

Adell, 439 F.3d at 255; see also Cadillac, 265 B.R. at 582. For the following reasons, this Court

finds that both Gappy and Ayoub acted in bad faith with regard to the Non-Rule 9011

Defendants, and appropriate sanctions are in order.

             Gappy and Ayoub utilized judicial process for improper purposes. Together they filed

case after case for the purpose of improperly delaying Defendants’ efforts to collect on a

																																																								
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  The Rule 9011 Defendants were harmed by the same bad faith conduct that justifies sanctions in favor
of the Non-Rule 9011 Defendants under the “bad faith” standard. That conduct would support sanctions
in favor of the Rule 9011 Defendants under the “bad faith” standard applied to the Non-Rule 9011
Defendants, in addition to the sanctions imposed per Rule 9011.
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properly-obtained money judgment against corporate entities. They did so even after being told

multiple times that their position was without merit, and even after being sanctioned for pursuing

their baseless claims.

         Ayoub and Gappy also engaged in what can be described as improper forum shopping,

offering the same baseless argument to one court after another in the hope that they would find a

sympathetic ear. When viewed as part of the totality of circumstances described throughout this

opinion, Gappy and Ayoub’s use of the judicial system for improper purposes constitutes bad

faith and justifies this Court’s imposition of sanctions against them.

         As the Court described above, Gappy and Ayoub took action that had no support in law.

Despite being told repeatedly that their legal position was without merit, Gappy and Ayoub

continued to prosecute claims that had no legal basis. They also filed a new lawsuit regarding

the debt at issue in direct contravention of a clear State Court order telling them to cease file such

cases without prior court permission. The Court recognizes that Gappy, as counsel, is primarily

responsible for decisions regarding legal strategy. However, that does not relieve Ayoub of

responsibility for the authorizing , approving, and directing prosecution of his claims.

         The Court’s inability to sanction Ayoub, the represented party, for violations of Rule

9011(b)(2) does not prevent the Court from considering his role in the situation as regards the

Non-Rule 9011 Defendants and the Court’s inherent sanction power. It does not take legal

training to understand the clear and direct statements of multiple State Courts when they tell you

that your case is without merit. Ayoub is an intelligent man who knew or should have known,

before filing his adversary complaint, that no relief was available to him. Additionally,         the

Court can reasonably infer that Ayoub’s desire to protect his interest in the subject entities was a

driving force in this litigation. Accordingly, Ayoub bears responsibility for the problems created



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here and cannot avoid sanctions simply because he was may not have directed the legal strategy

that violated the applicable procedural rules. Instead, when viewed as part of the totality of

circumstances described throughout this Opinion, the conduct of both Gappy and Ayoub reflects

bad faith and justifies the imposition of appropriate sanctions.

                             The Amount and Nature of the Sanctions

         When a pleading or submission violates Rule 9011, a court can sanction the attorneys,

law firms, or parties involved in or responsible for the violation. Fed. R. Bankr. Proc. 9011(c)

(2016). Here, the Court finds violations of Rule 9011(b)(1), making both Gappy and AYoub

subject to sanctions. The Court further finds violations of Rule 9011(b)(2), under which as per

9011(c)(2)(A) only Gappy, the attorney, can be subject to monetary sanctions. The Court

exercises its inherent authority to be able to, and does sanction both Gappy and Ayoub for

engaging in bad faith conduct.

         As to the nature and amount of sanctions, under the Rule(s) the Court can impose

sanctions including reasonable expenses and attorney’s fees incurred in presenting or opposing

the motion. Id. However, a court should limit sanctions to what is sufficient to deter repetition

of the offending conduct, or to deter comparable conduct by others similarly situated. Id.

Additionally, a court imposing sanctions must consider the offending party’s ability to pay those

sanctions. Orlett v. Cincinnati Microwave, Inc., 954 F.2d 414, 419 (6th Cir. 1992).

         In doing so, the Court must strike an appropriate balance when determining the amount

and nature of sanctions.     Compensating the injured party is only a secondary purpose of

sanctions. Id. The primary goal is to deter repetition of the offensive conduct, which requires

imposing sanctions substantial enough that the offending party will feel their weight.             Id.

However, it also requires assessing a sanction that is not so substantial as to be unaffordable.



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         The Court concludes it does not presently have before it sufficient evidence or

information to determine the nature and amount of the appropriate sanctions or who should be

responsible for what and to whom that individual should be responsible. Accordingly, the Court

needs to receive additional briefing and to conduct a final hearing regarding the such.. By virtue

of the fact this Court is retiring on September 30, 2016 and must finally and fully conclude this

matter by then, an evidentiary hearing and final arguments on such will be held on September

21, 2016 at 9:30 a.m. On or before September 16, 2016 the Movants shall each separately file

and serve statements of (a) the specific nature and amount of monetary sanctions they are

seeking, and against whom and the manner and rationale for same; and (b) the specific nature of

any sought-after non-monetary sanctions and against whom and the manner and rationale for

same.

         IT IS SO ORDERED.




                                                .

Signed on September 02, 2016
                                                ____ __/s/ Walter Shapero_    ___
                                                   Walter Shapero
                                                   United States Bankruptcy Judge




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